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                    United States Court of Appeals
                                  FIFTH CIRCUIT
                               OFFICE OF THE CLERK
LYLE W. CAYCE                                                      TEL. 504-310-7700
CLERK                                                           600 S. MAESTRI PLACE,
                                                                        Suite 115
                                                               NEW ORLEANS, LA 70130

                              January 11, 2023


Mr. Ryan Baasch
Office of the Attorney General of Texas
Office of the Solicitor General
P.O. Box 12548 (MC-059)
Austin, TX 78711-2548

Ms. Sarah Jane Clark
U.S. Department of Justice
Civil Division
950 Pennsylvania Avenue, N.W.
Washington, DC 20530

      No. 22-40399       Abbott v. Biden
                         USDC No. 6:22-CV-3


Dear Counsel:
This letter will serve to confirm my telephone messages left this
date advising the parties that the court has requested simultaneous
letter briefs, not to exceed 5 pages, be filed in this office on
or before Wednesday, January 18, 2023 by 5:00 PM, addressing how,
if at all, Department of Defense’s new policy affects the
appropriate disposition of this case.


                                   Sincerely,
                                   LYLE W. CAYCE, Clerk

                                   By: _________________________
                                   Casey A. Sullivan, Deputy Clerk
                                   504-310-7642
cc:
      Mr.   Zachary A. Avallone
      Mr.   James Garland Gillingham
      Mr.   Christopher D. Hilton
      Mr.   Leif A. Olson
      Mr.   Casen Ross
      Ms.   Abby Christine Wright
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